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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE §§ __j§j§-,} -9 PM h: 07

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UNITED sTATEs 0F AMERICA * §§§OJ§§J§§§,IW§;T;
*
vs. * Case No. 2:99cr20208-2-Ml
*
JAMES WILLIAMS *

 

ORDER HOLD[NG DEFENDANT FOR FINAL REVOCATION HEARING

 

On June 9, 2005, James Williams appeared before me on a charge of violation of the terms
and conditions of his supervised release in this matter. The defendant had previously been advised
of his rights under Fed.R.Crim.P. 5 and 32.1(a), and counsel Was appointed

At this hearing, the Court, after hearing proof, concluded that probable cause Was established
that the defendant had violated the terms and conditions of his supervised release.

Accordingly, defendant J ames Williams is held to a final revocation hearing before United
States District Judge J on Phipps McCalla It is presumed that the Distn`ct Judge will set this matter
for a revocation hearing pursuant to Fed.R.Crim.P. 32.1(b),(c), and Will see that appropriate notices
are given

The defendant was remanded to the custody of the United States Marshals.

IT ls so ORDERED this cl of jo \\IL ,2005.

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TU M. PHAM
UNITED STATES MAGISTRATE .TUDGE

 
 
 

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UNITED sTATEsDTlsRICT COURT - WETSER DI's'TRiCT OF ENNESSEE

 

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This notice confirms a copy of the document docketed as number 110 in
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Honorable J on McCalla
US DISTRICT COURT

